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10
                                   UNITED STATES DISTRICT COURT
11
                                 NORTHERN DISTRICT OF CALIFORNIA
12
                                          SAN JOSE DIVISION
13

14   UNITED STATES OF AMERICA,                       ) CR-18-00258-EJD
                                                     )
15           Plaintiff,                              ) STIPULATION AND [PROPOSED]
                                                     ) PROTECTIVE ORDER
16      v.                                           )
                                                     )
17   ELIZABETH HOLMES and                            )
     RAMESH “SUNNY” BALWANI,                         )
18                                                   )
             Defendants.                             )
19

20           The United States of America, by and through ALEX G. TSE, Acting United States Attorney for
21 the Northern District of California, and JEFF SCHENK, JOHN C. BOSTIC, and ROBERT S. LEACH,

22 Assistant United States Attorneys for the Northern District of California, and the defendants,

23 ELIZABETH HOLMES and RAMESH “SUNNY” BALWANI, and their attorneys, KEVIN DOWNEY

24 and LANCE WADE of Williams & Connolly for HOLMES, and JEFF COOPERSMITH and MARK

25 BARTLETT of Davis Wright Tremaine for BALWANI, hereby stipulate and agree as follows:

26           HOLMES and BALWANI are charged in an 11-count Indictment with violations of Title 18,
27 United States Code, Sections 1349 and 1343. In connection with this Indictment, the United States

28 intends to produce as discovery documents and materials that contain personal and private information

     STIPULATION AND [PROPOSED] PROTECTIVE ORDER
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 1 of persons not charged in the Indictment (“Private Documents”). Such Private Documents include the

 2 following categories of materials, among others: (1) records of financial accounts and transactions

 3 conducted by Theranos, Inc., the defendants, their employees, investors, strategic partners, and other

 4 third parties; (2) medical information, including lab test reports, for customers and patients of Theranos;

 5 and (3) personal information (such as dates of birth, addresses, social security numbers, passport

 6 numbers, driver’s license numbers, and financial account information) of patients, customers, and

 7 employees of Theranos, as well as witnesses and others interviewed throughout the course of the

 8 investigation. Because of the volume of material, it is not practical to redact the private financial,

 9 medical, and personal information prior to production. Moreover, because the sensitive information

10 described above may be important to understanding the meaning and importance of the documents,

11 redacting this information would, in many cases, render the documents less helpful to the preparation of

12 a defense. Therefore, to protect the privacy of the defendants, their associates, patients and customers of

13 Theranos, and other third parties, the United States respectfully requests that a protective order be issued

14 directing that the following actions be taken to prevent the public disclosure of private personal,

15 financial, and medical information.

16          1.      The following individuals (the “Defense Team”) may obtain and examine Private

17 Documents produced in discovery under the conditions set forth herein for the sole purpose of preparing

18 and presenting the defense of HOLMES and BALWANI in this matter and for no other purpose:

19                  a.     Counsel for HOLMES and BALWANI;

20                  b.     Persons employed or engaged by defense counsel to assist in the preparation of

21                         the defense;

22                  c.     HOLMES and BALWANI;

23                  d.     Third-party witnesses, but only in the presence of (i) defense counsel or an

24                         employee or agent of defense counsel, or (ii) counsel for the third-party witness

25                         provided such counsel executes and returns a copy of the attached Certification to

26                         defense counsel.

27                  e.     Any expert retained on behalf of HOLMES or BALWANI to assist in the defense

28                         of this matter;

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 1                  f.     Any investigator retained on behalf of HOLMES or BALWANI to assist in the

 2                         defense of this matter.

 3          If defense counsel determine that additional persons are needed to review the material, they must

 4 obtain a further order of the Court before allowing any other individual to review the material.

 5          2.      Except when being actively examined for the purpose of the preparation of the defense in

 6 this matter, Private Documents produced by the United States to defense counsel shall be maintained in

 7 a manner such that they are accessible only to the Defense Team. The Defense Team shall not permit

 8 any person access of any kind to Private Documents or disclose in any manner the personal identifying

 9 and private financial and medical information of the defendants or of third parties except as set forth in

10 this Order.

11          3.      Examination of Private Documents shall be done in a secure environment which will not

12 expose the materials to other individuals not listed above.

13          4.      Private Documents may be duplicated to the extent necessary to prepare the defense of

14 this matter.

15          5.      Any pleadings that reveal the personal identifying or private financial or medical

16 information of the defendants or third parties, either by attaching copies of documents containing that

17 information or referencing that information, shall be redacted to prevent the disclosure of such

18 information or filed under seal.

19          6.      Within thirty days of the final disposition of this case including exhaustion of all appeals,

20 or dismissal of the charges, all Private Documents provided to the Defense Team pursuant to this Order,

21 and all other authorized copies, if any, shall be destroyed or returned to the United States. If any

22 defendant believes that he or she must maintain the material for any reason related to appeal, the

23 defendant must seek authorization from the Court within ten days of the filing of a judgment in this

24 matter. This paragraph 6 shall not apply to the work product of defense counsel or any employee or

25 agent of defense counsel.

26          7.      Prior to receiving access to any Private Documents, each Defense Team member shall

27 sign a copy of the attached Certification. By signing the Certification, each Defense Team member

28 acknowledges that:

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 1                  a.     She or he has reviewed the Order;

 2                  b.     She or he understands the contents;

 3                  c.     She or he will access and use Private Documents only as permitted by the terms

 4                         of this Order;

 5                  d.     She or he understands that failure to abide by this Order may result in sanctions

 6                         by this Court and she or he submits to the jurisdiction of the Court for the purpose

 7                         of enforcing this Order and imposing any sanctions for its violation.

 8          8.      Defense counsel will maintain a copy of each signed Certification. The United States

 9 shall have no access to these signed copies without further order of the Court.

10          9.      Any disputes concerning this Stipulation and Protective Order shall be resolved by this

11 Court only after defense counsel and counsel for the United States have first conferred and attempted to

12 resolve the dispute.

13 SO STIPULATED:

14 DATED: June 29, 2018                                  Respectfully submitted,

15                                                       ALEX G. TSE
                                                         Acting United States Attorney
16

17
                                                         /s/
18                                                       JEFF SCHENK
                                                         JOHN C. BOSTIC
19                                                       ROBERT S. LEACH
                                                         Assistant United States Attorneys
20

21 DATED: June 29, 2018

22

23                                                       /s/
                                                         KEVIN DOWNEY
24                                                       LANCE WADE
                                                         Attorneys for Elizabeth Holmes
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 1 DATED: June 29, 2018

 2

 3                                                 /s/
                                                   JEFF COOPERSMITH
 4                                                 MARK BARTLETT
                                                   Attorneys for Ramesh “Sunny”
 5                                                 Balwani
 6

 7 SO ORDERED.

 8
     DATED: ______________
              7/2/2018                             ___________________________________
 9
                                                   HONORABLE EDWARD J. DAVILA
10                                                 United States District Court Judge

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10                                   UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                            SAN JOSE DIVISION

13     UNITED STATES OF AMERICA,                    )        CR-18-00258-EJD
                                                    )
14             Plaintiff,                           )        CERTIFICATION REGARDING
                                                    )        COMPLIANCE WITH PROTECTIVE ORDER
15        v.                                        )
                                                    )
16     ELIZABETH HOLMES and                         )
       RAMESH “SUNNY” BALWANI,                      )
17                                                  )
               Defendants.                          )
18

19          The undersigned acknowledges that she or he has received a copy of the Protective Order in the
20 matter of UNITED STATES v. ELIZABETH HOLMES and RAMESH “SUNNY” BALWANI, CR 18-

21 258-EJD, and has read, understands, and agrees to the terms of the Stipulation and Protective Order, and

22 hereby submits to the jurisdiction of the United States District Court for the Northern District of

23 California for the purposes of enforcement of the terms and punishment of any violations thereof.

24

25 Date: ________________                                 __________________________________
26                                                        Signature

27                                                        __________________________________
                                                          Printed Name
28

     STIPULATION AND [PROPOSED] PROTECTIVE ORDER
     CR-18-00258 EJD
